      Case 1:15-cv-04574-CBA-SJB Document 78 Filed 01/02/18 Page 1 of 3 PageID #: 472




                                            THE CITY OF NEW YORK
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                                                                           January 2, 2018
       VIA ECF
       Hon. Carol B. Amon
       United States District Judge
       United States District Court
       225 Cadman Plaza East
       Brooklyn, NY 11201


               Re:    Derrick Hamilton v. City of New York, et al., 15-CV-4888 (PAC)

              We write in accordance with the Court’s individual rules in order to request a pre-motion
       conference on the City’s anticipated motion for summary judgment pursuant to Fed. R. Civ P.
       56. Discovery closed on November 30, 2017, pursuant to the Honorable Sanket Bulsara’s
       October 23, 2017 order, and we now write to Your Honor thirty (30) days thereafter as required
       by Fed. R. Civ. P. 56(b).

                Factual Background: Plaintiff brings this claim pursuant to 42 U.S.C. § 1983, alleging
       that his constitutional rights were violated in connection with his prosecution for the murder of
       Nathaniel Cash on January 4, 1991. Cash was shot in front of the building where he was living
       with his sister at approximately 11:00 a.m. by a group of four individuals. Cash’s girlfriend,
       Jewel Smith, who was on the scene of the murder when investigating officers first arrived
       initially told Detective DeLouisa that she had spent the prior night with Cash, but that she was at
       a corner store at the time of the murder. Later, she told Detective Scarcella that she had
       witnessed the murder and identified Derrick Hamilton as Cash’s killer, along with some of the
       other individuals who were with the killer. Jewel Smith now claims that her identification of
       Derrick Hamilton was the result of coercion on the part of the investigating detectives. Further,
       both Jewel Smith and plaintiff have testified that Ms. Smith told plaintiff that the police
       detectives had coerced her within a few days of the murder. Detectives also spoke to a witness
       whose identity has been kept secret by the KCDA who told them that Cash had said that he
       believed that plaintiff wanted to murder him, and that he had tried to get Cash to get into a car
       with him and a number of other individuals.

              Ms. Smith testified in the grand jury, allegedly after being coerced by employees of the
       Kings County District Attorney’s Office, including Investigator Joseph Ponzi to identify
       Hamilton as the shooter. After her grand jury testimony, Ms. Smith was relocated to North
Case 1:15-cv-04574-CBA-SJB Document 78 Filed 01/02/18 Page 2 of 3 PageID #: 473



 Carolina by the KCDA because she told them that she had been threatened. Approximately ten
 days after the shooting, an off-the-books Pepsi delivery driver named Jerry Douglas stated to
 investigators that he had witnessed the Cash killing and identified plaintiff as the shooter. After
 plaintiff was arrested in New Haven, Connecticut on March 20, 1991, Ms. Smith appeared in the
 office of plaintiff’s attorney, George Sheinberg, and gave a signed statement to Sheinberg
 alleging that she saw the shooting, and that the perpetrator was not Derrick Hamilton.

       The sole eyewitness who testified at plaintiff’s criminal trial was Jewel Smith. Jerry
 Douglas was murdered in Brooklyn a few weeks prior to the start of the trial.

          At the trial, Jewel Smith again identified plaintiff as Cash’s killer. Smith was cross-
 examined extensively about her prior recantation to plaintiff’s criminal defense counsel, as well
 as the fact that she and plaintiff had had extensive correspondence during the months leading up
 to plaintiff’s trial and that she wrote plaintiff a number of love letters, which she testified at the
 trial she wrote out of fear of plaintiff. Plaintiff was convicted.

          Plaintiff brought a number of post-conviction motions, including one pursuant to CPL
 330.30 and several pursuant to CPL 440. At the hearing on the CPL 330 motion, Jewel Smith
 testified for the first time that the police investigators and employees of the KCDA had coerced
 her into identifying plaintiff. At that hearing, as well as in connection with a number of other
 motions, a variety of new witnesses appeared to testify upon plaintiff’s behalf. Plaintiff was
 released on parole on December 7, 2011. On January 9, 2015, plaintiff’s conviction was vacated
 after a review by the KCDA Conviction Review Unit concluded that Jewel Smith was an
 unreliable witness and that her account of Cash’s murder did not match the forensic evidence.

         False Arrest Under State Law and §1983. Defendants will also move to dismiss
 Plaintiff’s claims of false arrest, pursuant to both state law and § 1983. “The statute of limitations
 for a § 1983 claim arising in New York is three years . . . .” Lawson, 446 Fed. Appx. at 328.
 False arrest claims accrue at the time of arraignment. See Wallace v. Kato, 549 U.S. 384, 391
 (2007). Here, plaintiff was arrested on or about March 20, 1991. He was arraigned within a few
 days of his arrest. His §1983 false arrest claim, brought on August, 5, 2015, must thus be
 dismissed on statute of limitations grounds. See Allen, 2014 U.S. Dist. LEXIS 79031 (Mar. 13,
 2014). In addition, this claim is barred by the one-year statute of limitations governing state law
 false arrest claims. See George v. CSX Transportation, Inc., 13-CV-2317, 2014 U.S. Dist. LEXIS
 10324, at *15 (E.D.N.Y. Jan. 28, 2014). The statute begins to run when a plaintiff’s detention
 occasioned by the arrest ceases. See Tirelli v. O’Connell, 1:12-CV-1066, 2013 U.S. Dist. LEXIS
 19053 (N.D.N.Y. Feb. 13, 2013) (statute began to run when plaintiff was released from custody
 after posting bail). Plaintiff was released from prison on December 7, 2011, meaning that his
 state law false arrest claim is also untimely.

         Malicious Prosecution. Plaintiff’s malicious prosecution claim fails because there was
 probable cause for the proceeding against him. Probable cause is a complete defense to an
 allegation of malicious prosecution. See Manganiello, 612 F.3d at 161-62; Savino v. City of New
 York, 331 F.3d 63, 72 (2d Cir. 2003). As described above, there was probable cause to prosecute
 plaintiff for the murder of Nathaniel Cash. Even if Jewel Smith’s identification of plaintiff is



                                                  -2-
Case 1:15-cv-04574-CBA-SJB Document 78 Filed 01/02/18 Page 3 of 3 PageID #: 474



 excluded, there was an additional eyewitness identification of plaintiff, as well as the victim’s
 statements implicating plaintiff in the murder.

         Violation of Right to Fair Trial under §1983. Plaintiff alleges that his right to a fair trial
 was violated by the defendants in four principal ways: (1) the defendants fabricated Jewel
 Smith’s identification of plaintiff and coerced her subsequent testimony; (2) the defendants
 fabricated evidence and presented perjurious testimony regarding Taseem Douglas; (3) the
 defendants failed to investigate the alleged presence of “Money” Will Dawson and Taseem
 Douglas at the crime scene, as well as alleged threats by Dawson to Smith; and (4) the
 defendants suppressed allegedly exculpatory evidence.

         A civil rights plaintiff may bring an action under Section 1983 for denial of a fair trial
 resulting from fabrication of evidence. In order to establish this claim, a plaintiff must plead
 facts supporting the inference that “(1) an investigating official (2) fabricates evidence (3) that is
 likely to influence a jury’s decision, (4) forwards that information to prosecutors, and (5) the
 plaintiff suffers a deprivation of liberty as a result.” Jovanovic v. City of New York, 486 Fed.
 Appx. 149, 152 (2d Cir. 2012) (citing Jocks v. Tavernier, 316 F.3d 128, 138 (2d Cir. 2003);
 Ricciuti v. New York City Transit Auth., 124 F.3d 123, 129-30 (2d Cir. 1997)). Based on
 plaintiff’s complaint, it is unclear what evidence was fabricated regarding Taseem Douglas, as he
 did not testify at plaintiff’s criminal trial, and thus, could not have influenced a jury. As for the
 allegedly coerced testimony from Jewel Smith, plaintiff and Jewel Smith both testified that
 plaintiff was aware of the alleged coercion on the part of the detectives well in advance of the
 trial. However, plaintiff’s counsel did not cross-examine Ms. Smith at all on those claims; thus,
 the allegedly fabricated testimony did not proximately cause plaintiff’s conviction.

         A plaintiff may not bring a claim for a failure to adequately investigate a case under the
 guise of a deprivation of due process. Blake v. Race, 487 F. Supp.2d 187, 212 n.18 (E.D.N.Y.
 2007). Plaintiff has alleged that his rights were violated by the failure to investigate a number of
 allegations; however, this is not a proper claim.

         Finally, plaintiff alleges that ballistics evidence and the fact that Jewel Smith and Karen
 Smith were the same person were suppressed by the defendants. In order to prove a Brady
 violation, Plaintiff must show that “evidence material to guilt” was suppressed, and that
 suppression “deprive[d] the defendant of a fair trial.” United States v. Ritt-Weger, 524 F.3d 171,
 180 (2d Cir. 2008). It is undisputed that the pages of Det. DeLouisa’s memobook concerning
 Jewel Smith and the ballistics report were turned over to plaintiff’s counsel in time for these
 items to be used at trial. Plaintiff’s counsel indisputably could have cross-examined witnesses
 with these documents at the time of the trial, but did not do so. Thus, the information was not
 suppressed.

                                                                 Respectfully submitted,

                                                                        /s/
                                                                 Angharad K. Wilson
                                                                 Senior Counsel
 cc: All Counsel (via ECF)


                                                   -3-
